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                                No. 25-2581


           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT


              IMMIGRANT DEFENDERS LAW CENTER,
                       Plaintiff-Appellee,

                                      v.

                         KRISTI NOEM, ET AL.,
                          Defendants-Appellants.


   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
        FOR THE CENTRAL DISTRICT OF CALIFORNIA
             District Court Case No. 2:20-cv-09893


               APPELLANTS’ SUPPLEMENTAL BRIEF


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                                 INTRODUCTION

      ImmDef is one of several plaintiffs in this case, and the district court has

already certified a class of individual plaintiffs. ImmDef alone sought the

preliminary relief now before the court. Yet the district court granted universal relief,

extending not only to all the parties to this case who declined to join ImmDef’s

motion, but also to all nonparties.

      The district court should not have issued any relief at all, as the government’s

stay briefs explain. The Supreme Court’s recent decision in Trump v. CASA, Inc.,

606 U.S. ---, 2025 WL 1773631 (June 27, 2025), underscores that the Court must,

at minimum, grant a stay narrowing that relief to apply only to the single plaintiff

that sought relief.

      The district court’s universal relief cannot be properly understood as a § 705

stay, so it falls squarely within CASA’s holding barring universal injunctions. And

even if it were a § 705 stay, § 705 did not depart from the traditional equitable

principles that CASA articulated, so universal § 705 relief is no more permissible

than a universal preliminary injunction. Either way, the relief entered below is “at

odds with our system of divided judicial authority” and is “in considerable tension

with the reality that district court opinions lack precedential force even vis-à-vis

other judges in the same judicial district.” CASA, 2025 WL 1773631, at *13 n.17;

Camreta v. Greene, 563 U.S. 692, 709, n.7 (2011). The district court’s sweeping
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“stay” cannot stand under CASA. At minimum, the Court should grant a stay limiting

the universal scope of the district court’s order.

                                    ARGUMENT

      The Migrant Protection Protocols (“MPP”) exercise the express authority of

the Department of Homeland Security (“DHS”) under 8 U.S.C. § 1225(b)(2)(C) to

return certain aliens temporarily to Mexico pending their removal proceedings. The

district court granted universal preliminary relief, captioned as a stay under § 705 of

the Administrative Procedure Act (“APA”), of the “reimplementation” of MPP. It

issued this universal relief at the request of ImmDef, a single organizational Plaintiff.

The Court should stay that order wholesale, for the reasons the government has

already explained in its stay briefing. But at minimum, the Court should stay the

district court’s order except as to ImmDef’s clients because the government is likely

to succeed in arguing that the relief exceeded the district court’s remedial powers.

I.    The relief ordered by the district court falls within CASA’s holding
      because it is really a preliminary injunction.

      Universal preliminary injunctions are unlawful. In CASA, the Supreme Court

addressed “universal injunctions”—remedies that bar the defendant from enforcing

“a law or policy against anyone”—issued under the Judiciary Act of 1789. 2025 WL

1773631, at *4. Because “[n]either a universal injunction nor any analogous form of

relief was available … at the time of the founding,” id. at *6, the “universal




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injunction … falls outside the bounds of a federal court’s equitable authority under

the Judiciary Act.” Id. at *8.

      At most, a court granting equitable relief “may administer complete relief

between the parties.” Id. at *11 (cleaned up). “Under this principle, the question is

not whether an injunction offers complete relief to everyone potentially affected by

an allegedly unlawful act; it is whether an injunction will offer complete relief to the

plaintiffs before the court.” Id. And even then, “[c]omplete relief is not a guarantee—

it is the maximum a court can provide.” Id. at *12.

      Here, the district court entered relief captioned as a stay under § 705 of the

APA, but the order was injunctive in nature. A stay may operate to suspend a “source

of authority,” Nken v. Holder, 556 U.S. 418, 429 (2009), for example, by delaying

the effective date of an agency’s rule from (say) July 1 to August 1. But the district

court’s order did not operate on any “source of authority.” Instead, it was directed at

“reimplementation” of MPP, and it could thus have effect only by prohibiting

actions to “reimplement” MPP. The order’s true nature and effect, superficial labels

aside, are thus injunctive.

      The relief ordered by the district court cannot properly be understood as § 705

relief for a second, independent reason: § 705 relief postponing an agency action

cannot be entered after the agency action has already taken effect. Courts have

concluded that § 705’s phrase “postpone the effective date” of an agency action



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authorizes the “postpone[ment of] the effective date of a not yet effective rule,

pending judicial review”—but not suspension of a policy that is already in effect.

See, e.g., Safety-Kleen Corp. v. EPA, Nos. 92-1629, 92-1639, 1996 U.S. App. LEXIS

2324, at *2-3 (D.C. Cir. Jan. 19, 1996) (emphasis added). Section 705 uses identical

language to refer to “the reviewing court ... postpon[ing] the effective date of an

agency action” as it does when addressing an agency decision to “postpone the

effective date[.]” The use of an identical phrase in the first and second sentences of

§ 705 must be presumed to be intentional. E.g., Sorenson v. Sec’y of Treasury,

475 U.S. 851, 860 (1986). Because MPP has been in effect, off and on, since 2019,

its effective date has already passed, and the district court lacked authority to “stay”

it under § 705.

      At bottom, the district court lacked authority to enter relief that extended

beyond the sole party seeking relief, ImmDef. CASA’s holding squarely applies to

this case to bar the universal relief the district court granted. If any relief were

appropriate, it must be limited to ImmDef alone.

      This is not the unusual case in which granting relief to the plaintiff will

necessarily and incidentally amount to a grant of universal relief. See CASA,

2025 WL 1773631, at *17 (Thomas, J., concurring) (warning that “such cases are by

far the exception”). MPP operates on the specific individuals enrolled in it. ImmDef

may, in the future, seek to represent some of those specific individuals. Relief from



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MPP applying to ImmDef’s clients, by permitting them to remain in the

United States pending their removal proceedings, would provide relief for ImmDef

from the policy it challenges. This is, in other words, not a case in which “it is all

but impossible” to “craft relief” that is limited to the named plaintiff’s injuries.

CASA, 2025 WL 1773631, at *11 n.12. Providing relief to the individuals ImmDef

represents in the future does not indivisibly extend relief to the whole universe of

nonparties. And even if ImmDef argues that some vestiges of the harms it presses

remained under that approach, “[c]omplete relief is not a guarantee,” but is instead

“the maximum a court can provide.” CASA, 2025 WL 1773631, at *12. 1

II.   Regardless, the equitable principles established in CASA apply to relief
      issued under § 705.

      Even if the district court’s order could properly be understood as entering

preliminary relief under the APA, 5 U.S.C. § 705, the equitable principles CASA

identified would still apply.

      CASA reserved the question whether the equitable limitations applicable to

relief authorized by the Judiciary Act of 1789 also apply to final APA relief under

§ 706(2), as APA relief was not before the Court. 2025 WL 1773631 at *8 n.10. But



1
  Universal relief is especially disconcerting here because there is a certified class,
but it did not join ImmDef’s motion for relief. Of course, even if it had, classwide
relief would violate 8 U.S.C. § 1252(f)(1). See, e.g., ECF# 6.1 at 14-17. But the fact
that the class declined to seek relief underscores that it was improper for ImmDef to
receive universal relief.


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the analysis for preliminary APA relief under § 705 is straightforward. Nothing in

§ 705 rebuts the presumption that traditional equitable rules apply to relief ordered

under § 705, so § 705, like the Judiciary Act of 1789, does not authorize universal

relief.

          Section 705 authorizes courts to “issue all necessary and appropriate process”

to postpone an agency action or “to preserve status or rights pending conclusion of

the review proceedings.” 5 U.S.C. § 705. The Supreme Court recently interpreted

closely analogous language in the National Labor Relations Act—permitting a court

“to grant … such temporary relief … as it deems just and proper”—to “empower

courts to grant equitable relief” and to require that they “exercise that authority in a

manner consistent with traditional principles of equity.” Starbucks Corp.

v. McKinney, 602 U.S. 339, 345 (2024) (quoting 29 U.S.C. § 160(j)). For § 705, just

as for the similarly phrased National Labor Relations Act, “[n]othing … displaces

the presumption” that “traditional equitable principles govern.” Id.; see also, e.g.,

Hecht v. Bowles, 321 U.S. 321, 330 (1944) (courts should not “lightly imply” a

“major departure” from the “long tradition” of equity when interpreting a remedial

statute).

          The text of § 705 contains no statement that could justify a departure from

equitable principles. Instead, the text’s reference to “all necessary and appropriate

process” is best understood to reference the traditional equitable principles



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governing when preliminary relief is necessary and appropriate. 5 U.S.C. § 705.

Reflecting this, courts, including the district court, already acknowledge that

traditional principles of equity govern relief under § 705 by applying the traditional

four-factor injunction test to evaluate § 705 motions. See Starbucks Corp.

v. McKinney, 602 U.S. 339, 345 (2024) (“[T]he four criteria identified in Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7 (2008)] encompass the relevant equitable

principles.”).

      Other sources further confirm that § 705 should not be understood to radically

break from equitable principles. The Supreme Court recognized before the APA’s

enactment that the power to stay an agency order pending review is part of a federal

court’s “traditional equipment for the administration of justice.” Scripps-Howard

Radio v. FCC, 316 U.S. 4, 16-17 (1942). After the APA’s enactment, the Court

continued to maintain that “[t]he relevant legislative history of” § 705 “indicates that

it was primarily intended to reflect” that “existing law,” not to “fashion new rules,”

unmoored from principles of equity, governing the remedies courts can provide.

Sampson v. Murray, 415 U.S. 61, 80 n.15 (1974). Section 705 thus did not depart

from the traditional remedies available to courts by creating a new remedy

unbounded by traditional equitable principles—including, as relevant here, the

“party-specific principles” that “permeate our understanding of equity.” CASA,

2025 WL 1773631, at *7.



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      Further supporting this conclusion, one treatise published soon after the

APA’s enactment observed that § 705 merely “relates the power granted under the

All Writs statute to the review of administrative orders” rather than changing

existing law on remedies. Louis L. Jaffe, Judicial Control of Administrative Action

662 (1965). Another similarly recounted that the § 705 remedy “is an equitable

power, to be exercised ‘upon such conditions as may be required.’” Tom C. Clark,

Attorney General’s Manual on the Administrative Procedure Act 106 (1947).

      As the text, Supreme Court precedent, the applicability of the four-factor

injunction test, and other authorities confirm, § 705 is bounded by traditional

equitable principles, just like the Judiciary Act of 1789. And just as those principles

foreclose universal preliminary injunctions, they likewise foreclose universal relief

under § 705. 2




2
  The scope of final relief available under the APA is not directly relevant in this
posture. See 5 U.S.C. § 706; CASA, 2025 WL 1773631 at *8 n.10. But to the extent
ImmDef argues that § 705 relief must be universal because § 706 relief is universal,
that argument would fail. For one thing, no principle requires that preliminary relief
be as broad as final relief. For another, the APA does not authorize universal vacatur.
Section 706(2) does not authorize any particular remedy, but rather establishes a rule
of decision directing the reviewing court to disregard unlawful agency actions when
resolving the case before it. Remedies “ordinarily ‘operate with respect to specific
parties,’” rather than “‘on legal rules in the abstract,’” but reading § 706 to authorize
universal vacatur would do the opposite. California v. Texas, 593 U.S. 659, 671
(2021) (citation omitted).

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III.   Limiting relief to ImmDef’s clients would be workable and would redress
       ImmDef’s supposed injuries.

       The Court should stay the district court’s order wholesale because the

government is likely to succeed in showing that ImmDef is not entitled to relief. But

if the Court were to conclude otherwise, it should, at minimum, grant a partial stay

limiting the district court’s order to exempting ImmDef’s clients from MPP—in

other words, permitting any future ImmDef clients who are enrolled in MPP to

remain in the United States during their removal proceedings.

       Because ImmDef is the only party seeking relief, any remedy can—at

maximum—afford complete relief to ImmDef. And ImmDef would receive

“complete relief” if the government were barred from applying MPP’s

“reimplementation” to its clients and only its clients.

       That remedy would be administrable from DHS’s perspective. In the event

ImmDef identifies and decides to represent anyone who has been enrolled in MPP,

ImmDef could identify those clients to DHS, and DHS could permit those

individuals to re-enter the United States. That remedy would also redress the injuries

ImmDef asserts, all of which are tied to its clients’ location in Mexico. (Of course,

the government maintains that ImmDef has not identified any cognizable injuries

sufficient to give rise to standing—and any preliminary relief must be calibrated to

any cognizable injuries ImmDef has actually shown it will suffer.)




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      To the extent ImmDef argues that this remedy would not afford it complete

relief, that objection would not permit the Court to enter broader relief. As the

Supreme Court cautioned: “to say that a court can award complete relief is not to

say that it should do so.” CASA, 2025 WL 1773631, at *12. Instead, complete relief

is the “maximum a court can provide,” not “a guarantee.” Id. Here, a suit challenging

MPP filed by a plaintiff who is enrolled in MPP could obtain relief only for that

plaintiff. It would be backwards to allow a plaintiff like ImmDef to receive broader

relief than an individual plaintiff could when ImmDef is not itself directly regulated

by MPP.

      Moreover, “in equity, ‘the broader and deeper the remedy the plaintiff wants,

the stronger the plaintiff’s story needs to be.’” Id. (quoting S. Bray & P. Miller,

Getting Into Equity, 97 NOTRE DAME L. REV. 1763, 1797 (2022)). ImmDef’s

arguments do not justify any relief, let alone universal relief. And universal relief

would be significantly “more burdensome to the defendant than necessary” to

provide relief to ImmDef. See Califano v. Yamasaki, 442 U.S. 682, 702 (1979).

Indeed, “[t]here is scarcely a suit at law, or in equity, … that does not involve a

question in which other parties are interested.” CASA, 2025 WL 1773631, at *7

(citations omitted). “But to allow all persons subject to the statute to be treated as

parties to a lawsuit would confound the established order of judicial proceedings.”

Id.



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                                  CONCLUSION

      The Court should deny ImmDef’s motion to dismiss and stay the district

court’s order pending appeal. If the Court declines to stay the district court’s order

in its entirety, it should at minimum limit the order to apply only to ImmDef instead

of issuing universal relief. See ECF# 29.2 at 113.

                                              Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 27(d)(2)(A) and this Court’s

Order, I certify that the foregoing was prepared using 14-point Times New Roman

type, is proportionally spaced, and contains 2515/3000 words, exclusive of the tables

of contents and citations, and certificates of counsel.

                                        /s/ Alanna T. Duong
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July 7, 2025                            Attorney for Defendants-Appellants




                          CERTIFICATE OF SERVICE

      I certify that on July 7, 2025, I filed the foregoing with the Clerk of the Court

for the United States Court of Appeals for the Ninth Circuit by using the appellate

ACMS system. I further certify that all participants in the case are registered ACMS

users and that service will be accomplished through that system.

                                        /s/ Alanna T. Duong
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